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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
         v.                                  )      CASE NO. 15-CR-00511-KKD-GMB
                                             )
TREMANE DARNELL CARTHEN                      )

                                            ORDER

         After due and proper consideration, and a de novo determination of those portions of the

recommendation to which objection is made, the recommendation of the Magistrate Judge made

under 28 U.S.C. § 636(b)(3) and dated the June 20, 2016, is ADOPTED as the opinion of this

Court.

         DONE and ORDERED this 18th day of July 2016.

                                             /s/ Kristi K. DuBose
                                             KRISTI K. DuBOSE
                                             UNITED STATES DISTRICT JUDGE
